

Matter of Michelle S. v Luke R. (2021 NY Slip Op 01330)





Matter of Michelle S. v Luke R.


2021 NY Slip Op 01330


Decided on March 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 04, 2021

Before: Kern, J.P., Oing, Singh, Moulton, JJ. 


Index No. O-685/16 Appeal No. 13250 Case No. 2020-02621 

[*1]In the Matter of Michelle S., Petitioner-Respondent-Appellant,
vLuke R. Respondent-Appellant-Respondent.


Advocate, LLP, New York (Jason Advocate of counsel), for appellant-respondent.
Law Offices of Sergio Villaverde, PLLC, New York (Sergio Villaverde of counsel), for respondent-appellant.



Order, Supreme Court, New York County (Tandra L. Dawson, J.), entered on or about May 13, 2019, which, upon a fact-finding determination that respondent committed the family offenses of aggravated harassment in the second-degree, harassment in the first-degree, menacing in the second and third degrees, stalking in the fourth degree, and criminal mischief in the fourth degree, granted a five-year order of protection in favor of petitioner and denied attorneys' fees to petitioner, unanimously affirmed, without costs.
Respondent committed criminal mischief in the fourth degree when he poured brown, noxious liquid on petitioner's clothing, leaving them soiled and stained, which she then turned over to the police (Penal Law § 145.00[1]).
The issuance of a five-year order of protection was appropriate in view of the presence of aggravating circumstances constituting an immediate and ongoing danger to petitioner (Family Ct Act § 827 [a] [vii]; see Matter of Angela C. v Harris K., 102 AD3d 588, 589 [1st Dept 2013]).
On this record, the court did not abuse its discretion in denying attorneys' fees to petitioner where she failed to submit any proof of the fees at the hearing and did not indicate after the hearing that she was pursuing a claim for fees. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 4, 2021








